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 1                               UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3

 4       MARCUS SHARIF MCNEAL,                                 Case No. 2:16-cv-01618-JAD-EJY
 5                                          Petitioner
               v.                                                Order Granting Petitioner’s
 6                                                                   Motion to Extend
         BRIAN E. WILLIAMS, et al.,
 7                                                                    [ECF Nos. 84, 87]
                                         Respondents
 8

 9            Petitioner Marcus Sharif McNeal moves for an extension of time to file his declaration
10   regarding how he intends to proceed on Ground III, his unexhausted claim. 1 On October 13,
11   2021, McNeal requested a 30-day extension of time to file his declaration. 2 On November 1,
12   2021, McNeal filed a motion to proceed pro se as well as a motion to refile his amended petition,
13   which remain pending. 3 McNeal now requests an extension of time to file his declaration until
14   after a decision on his motion to proceed pro se is issued. 4
15            Good cause appearing, McNeal’s motion to extend [ECF No. 87] IS GRANTED, and
16   his first motion to extend [ECF No. 84] IS DENIED as moot. I will provide a new deadline for
17   McNeal’s declaration regarding how he intends to proceed on Ground III upon issuance of a
18   ruling on McNeal’s motion to proceed pro se.
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                                                               U.S. District Judge Jennifer A. Dorsey
21                                                             Dated: November 23, 2021

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23

24   1
         ECF No. 87.
25   2
         ECF No. 84.
     3
26       ECF Nos. 85, 86.
     4
27       ECF No. 87.

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